          Case 2:15-cv-00993-GMS Document 25 Filed 02/04/16 Page 1 of 1



 1
 2
 3
 4
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Margaret Meltzer,                                No. CV-15-00993-PHX-GMS
10                         Plaintiff,                 ORDER
11   v.
12   Hartford Life and Accident Insurance
     Company, et al.,
13
                           Defendants.
14
15
16            IT IS ORDERED granting the parties’ Stipulated Motion to Dismiss Case With

17   Prejudice (Doc. 24), with each side to bear its own attorneys’ fees and costs.

18            Dated this 3rd day of February, 2016.

19
20                              Honorable G. Murray Snow
                                United States District Judge
21
22
23
24
25
26
27
28
